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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 09-CV-02681-REB-MEH

DAWN MARIE FIECHTNER,

        Plaintiff,

v.

AMERICAN FAMILY MUTUAL INSURANCE COMPANY,

        Defendant.


     MOTION TO MAINTAIN CONFIDENTIALITY OF DOCUMENTS AND DEPOSITION
                               TESTIMONY


        American Family Mutual Insurance Company (“American Family”) moves,

pursuant to the Protective Order entered in this action (Doc. # 17, filed July 8, 2010), to

maintain the confidentiality of all of the documents and deposition transcript excerpts it

has designated as “confidential”pursuant to the Protective Order.

                           CERTIFICATE OF COMPLIANCE

        Pursuant to D.C.COLO.LCivR 7.1(A), Fed. R. Civ. P. 26(c)(1), and paragraph 8

of the Protective Order, counsel for American Family has conferred by telephone with

counsel for Plaintiff regarding the subject matter of this Motion and has attempted in

good faith to resolve this dispute without Court intervention. Plaintiff opposes the relief

requested.
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                                   INTRODUCTION

       Plaintiff and American Family jointly stipulated to entry of a Protective Order in

this case so that American Family could provide information to Plaintiff for use in

pursuing her claim without jeopardizing the confidentiality of American Family’
                                                                              s

proprietary or competitively sensitive information.    This Court granted the parties’

stipulated motion and entered the Protective Order (Doc. # 17).

       Plaintiff has asserted a blanket objection to American Family’
                                                                    s designation of

materials as confidential as agreed by the Protective Order. (See Exh. A (Email from J.

Proctor).)   Plaintiff’
                      s blanket objection: (1) does not comply with the terms of the

Protective Order requiring her to identify the particular materials she believes are not

confidential and confer with counsel for American Family concerning those particular

items; and (2) is an attempt to renege generally on the parties’ agreement and

stipulation to protect American Family’
                                      s confidential information as provided in the

Protective Order.   Moreover, since the Protective Order permits Plaintiff to use the

confidential information in pursuing her claim, she has no legitimate interest in seeking

to disclose American Family’
                           s proprietary and confidential information to outsiders.

Accordingly, this Court should enter an Order requiring Plaintiff to maintain the

confidentiality of the designated documents and deposition testimony, as required by

the stipulated Protective Order.




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                                      ARGUMENT

A.     The Protective Order Appropriately Shields American Family’s
       Competitively Sensitive Information While Allowing Plaintiff to Use the
       Information in Pursuing Her Claim.

       Rule 26 permits the Court to “protect a party… from… undue burden or expense”

by, among other things, “requiring that a trade secret or other confidential research,

development, or commercial information not be revealed or be revealed only in a

specified way… .” Fed. R. Civ. P. 26(c)(1)(G). Competitive disadvantage from exposure

of information is one of the harms that justifies protection under Rule 26. Netquote, Inc.

v. Byrd, 2007 WL 2438947, at * 1 (D. Colo. Aug. 23, 2007).

       The stipulated Protective Order entered in this case permits a party to designate

as “CONFIDENTIAL” information that is “confidential and implicates the proprietary,

confidential, competitively sensitive and/or trade secret information.” (Prot. Order, Doc.

# 17 ¶ 3.)      The documents and deposition excerpts that American Family has

designated “CONFIDENTIAL”contain proprietary or competitively sensitive confidential

information that American Family is entitled to protect from disclosure to those outside

this lawsuit.

       Under the terms of the Protective Order, American Family’
                                                               s designation of

documents or deposition testimony as “confidential” does not prevent Plaintiff from

having access to and using “confidential” information in preparing her case – it only

prevents her from disclosing such information to outsiders who are not involved with the

case. (Protective Order, Doc. # 17 ¶ 4.)




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       As the Court in Gillard explained, “[c]ivil discovery is a device to allow parties to

obtain information for the purpose of preparing and trying a lawsuit,” and

“[c]onsequently… a party has no right to make unrestricted disclosure of the information

obtained through discovery.” Gillard v. Boulder Valley School Dist. Re.-2, 196 F.R.D.

382, 387 (D. Colo. 2000) (citing Seattle Times Co. v. Rhineheart, 467 U.S. 20, 32, 104

S.Ct. 2199, 81 L.Ed.2d 17 (1984)). Plaintiff has identified no harm to her from American

Family’
      s desire to maintain the confidentiality of its business information. She may use

the information in pursuing her claims in this litigation. There is no other legitimate use

of the materials.

B.     Plaintiff’s Blanket Objection to All of American Family’s Designations Does
       Not Meet the Protective Order’s Requirements for Objection and Conferral.

       The Protective Order provides a means for resolving disputes related to the

designation of particular materials as “confidential.” It provides for a party to object to

“the designation of particular CONFIDENTIAL information by giving written notice”to the

designating party. (Protective Order p.3, ¶ 8 (emphasis added).) The Protective Order

requires that “[t]he written notice shall identify the information to which the objection is

made.” (Id. (emphasis added).) The designating party is required to file a motion for

protection “[i]f the parties cannot resolve the objection within ten (10) business days

after the notice is received.” (Id.)    The Court should then “determine whether the

disputed information should be subject to the terms of this Protective Order.” (Id.) The

reason for requiring the objecting party to identify the particular information is obvious:

the parties cannot meaningfully discuss -- and the Court cannot meaningfully analyze --



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a claim that information should not be protected if the objecting party refuses to identify

the information it believes should not have been designated Confidential.

       Plaintiff’
                s objection, the email attached as Exhibit A, provides no clue as to the

particular information Plaintiff believes should not be protected, much less any

explanation of a reason for the objection. The objection states, in its entirety:

       Counsel:
       Please be advised that, upon consideration of the materials American
       Family has designated as “confidential”in this case, including documents
       it has produced and deposition testimony of American Family witnesses,
       Plaintiff objects to American Family’ s confidentiality designation. This
       notice of Plaintiff’s objection is given pursuant to the terms of the
       Protective Order (Doc. No. 17).
       Joshua R. Proctor

Conferral with opposing counsel did not shed further light on the basis for or target of

Plaintiff’
         s objection.

       The blanket objection provided by Plaintiff does not meet the requirements of the

Protective Order and therefore does not constitute a permitted objection to the

confidentiality designations of the materials.

C.     The Blanket Objection Is Not in Good Faith and Constitutes an Attempt to
       Renege on the Parties’Agreement to Abide by the Terms of the Protective
       Order.

       Plaintiff’
                s general statement that she “objects to American Family’
                                                                        s confidentiality

designation” cannot be squared with her prior agreement to stipulate to entry of the

Protective Order. (Exh. A.) The parties might be expected to disagree about particular

usages of the confidential designation – indeed, that is why the Protective Order

includes a provision for resolving such disputes. Objecting in general to the use of the



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designation, however, is not a dispute about usage but an apparent attempt to renege

on the commitment to the Protective Order altogether.

       The Tenth Circuit has recently explained that “[p]rotective orders serve the vital

function of ‘
            secur[ing] the just, speedy, and inexpensive determination of civil disputes

by encouraging full disclosure of all evidence that might conceivably be relevant.’
                                                                                  ”

S.E.C. v. Merrill Scott & Associates, Ltd., 600 F.3d 1262, 1272 (10th Cir. 2010) (quoting

Martindell v. Int'l Tel. & Tel. Corp., 594 F.2d 291, 295 (2d Cir. 1979)). Accordingly, the

Tenth Circuit directed that “courts should be wary of retroactive attempts to modify

[protective orders] in ways that undermine the justified reliance of a witness … on a

valid order circumscribing the use and availability of information disclosed through

discovery.” Id. The Court explained that “[u]nless protective orders are ‘
                                                                         fully and fairly

enforceable, witnesses relying upon such orders will be inhibited from giving essential

testimony in civil litigation, thus undermining a procedural system that has been

                                                                           ”Id. (quoting
successfully developed over the years for disposition of civil differences.’

Martindell at 295).

       Plaintiff’
                s attempt to back out of or invalidate the Protective Order after American

Family has produced its confidential and competitively sensitive business information in

reliance on the protections afforded by it is bad faith. American Family relied on the

Protective Order to provide a means by which American Family could produce

documents for Plaintiff to use in the litigation without the worry that the documents

would be subject to general distribution. Plaintiff’
                                                   s recent change of heart with regard to

the Protective Order is all the more troubling because the Protective Order does not


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inhibit Plaintiff’
                 s own use of the information to pursue her claim. Plaintiff’
                                                                            s attempt to

agree to the protection before the documents are produced and then attempt to back

out afterward is bad faith and should not be permitted.

                                     CONCLUSION

      WHEREFORE, Defendant American Family Mutual Insurance Company

respectfully requests that this Court enter an Order maintaining the “CONFIDENTIAL”

designation of all documents and deposition testimony that American Family has

marked as CONFIDENTIAL in this litigation and requiring Plaintiff to continue to treat

those documents and deposition testimony as subject to the protections of the

Protective Order (Doc. # 17) in this case.

      Respectfully submitted this 22nd day of November, 2010.

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                                                 Michael S. McCarthy
                                                 Heather C. Perkins
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                                                 Counsel for Defendant

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                               CERTIFICATE OF SERVICE

       I certify that on this 22nd day of November, 2010, I electronically filed the
foregoing MOTION TO MAINTAIN CONFIDENTIALITY OF DOCUMENTS AND
DEPOSITION TESTIMONY with the Clerk of Court using the CM/ECF system, which
will send notification of such filing to the following counsel of record:

    •    Franklin David Azar
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                                       s/ Colleen H. Russell
                                       Colleen H. Russell, Legal Secretary



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